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 1   Eric C. Kastner (SBN 53858)
     eck@kastnerkim.com
 2   J. Philip Martin (SBN 55100)
     jpm@kastnerkim.com
 3
     KASTNER | KIM LLP
 4   3150 De La Cruz Blvd. Suite 206
     Santa Clara, CA 95054
 5   Tel.: (650) 967-7854
 6   Attorneys for Plaintiff,
 7   DANIEL WARMENHOVEN
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 9
                                      UNITED STATES DISTRICT COURT
10
                                    NORTHERN DISTRICT OF CALIFORNIA
11

12   DANIEL WARMENHOVEN,                           Case No. 5:17-cv-02990 - BLF
13                           Plaintiff,
14          v.                                     PLAINTIFF DANIEL
                                                   WARMENHOVEN’S OPPOSITION TO
15   NETAPP, INC., A DELAWARE                      DEFENDANTS’ MOTION FOR
     CORPORATION, NETAPP EXECUTIVE                 SUMMARY JUDGMENT ON
16   MEDICAL RETIREMENT PLAN,
                                                   EQUITABLE REMEDIES
17                          Defendants,
18
                                                   Date:      October 13, 2022
19                                                 Time:      9:00 a.m.
                                                   Courtroom: 3
20
                                                   Judge:     Hon. Beth Labson Freeman
21

22                                                 Complaint Filed: 05/24/2017

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28   PLAINTIFF DANIEL WARMENHOVEN’S OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY
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 1                                            I.   INTRODUCTION

 2          The Court of Appeals for the Ninth Circuit reversed the Court’s ruling as to the Second Claim

 3   for violation of the fiduciary’s (NetApp) obligation not to mislead beneficiaries of the Plan under

 4   Section 1132(a)(3). There is no basis for that claim to be dismissed via summary judgment.

 5          Defendant pays lip service to, but essentially ignores, a key holding in Cigna Corp. v. Amara,

 6   563 U.S. 421, 433 (2911) (“Amara”) which is that only causation and harm, not detrimental reliance,

 7   needs to be established in order that the equitable remedies of reformation or surcharge are

 8   appropriate. Here NetApp’s failure to honor its repeated representations that plaintiff was receiving a

 9   “lifetime" medical benefit, in both the PowerPoints and SEC filings discussing the Executive Medical

10   Retirement Plan (“EMRP”) caused plaintiff to pay for medical expenses for which he should not have

11   had to pay. That expenditure of money is harm and is classic “but for” causation.

12                            II.    THE ALLEGED UNDISPUTED “FACTS”

13          NetApp’s motion presents four facts as allegedly undisputed (NetApp. Motion and

14   Memorandum filed June 15, 2022 [“NetApp.Br.”], at p.2, lines 8-15):

15          1) Warmenhoven’s eligibility to participate in the EMRP did not impact his decision to retire

16              or his goals in retirement;

17          2) When Warmenhoven paid for this health coverage after the 2016 change in Plan design,

18              that change did not impact his personal net worth or lifestyle;

19          3) Warmenhoven admitted there were no ambiguous Plan terms; and

20          4) Warmenhoven had access to or received the Plan document when the Plan was created in

21              2005 and when he retired in 2014.

22          None of these alleged facts are relevant to Warmenhoven’s possible remedies of reformation or

23   surcharge. As to Fact 1, the Supreme Court decisions on this issue make it clear that detrimental

24   reliance is not a condition to equitable relief under Section 1132(a)(3).       Amara, supra at, 443

25   (“Looking to the law of equity, there is no general principle that ‘detrimental reliance’ must be proved

26   before a remedy is decreed”). In any event, the NetApp EMRP was a factor in plaintiff continuing as
27   the NetApp CEO until after he was vested under the terms he understood to be the EMRP.

28   Declaration Daniel Warmenhoven (“Warmenhoven Dec.”) at paragraph 6, filed herewith. As to Fact 2,
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 1   one’s “net worth” has never been a factor (nor should it be) in the federal courts’ many decisions

 2   regarding ERISA remedies. A loss is a loss regardless of one’s financial situation. As to Facts 3 and

 3   4, whether the Plan terms were unambiguous is irrelevant to the availability of equitable remedies

 4   other than estoppel. Warmenhoven stated he believed the PowerPoints, and not the insurance

 5   certificates issued by NetApp’s employee health insurers (Cigna and later United Health Service),

 6   were the EMRP. Declaration of Warmenhoven Dec. at paras. 5-6.

 7          In attempting to piggyback on the Court of Appeals’ ruling that the certificates, with
     termination language, somehow impacts Warmenhoven’s right to relief under section 1132(a)(3),
 8   NetApp overlooks this critical portion of the opinion:
                   “. . . there is a genuine dispute of material fact as to whether NetApp
 9
                   incorrectly represented to Plan participants that the Plan provided lifetime
10                 health insurance benefits. A reasonable factfinder easily could read
                   the PowerPoints to convey a promise of lifetime benefits. Yet NetApp
11                 had not memorialized that promise in any plan document, and in fact the
                   Certificates say the opposite.”
12                 Opinion, p. 20 (emphasis added).
13                                       III.   LEGAL ARGUMENT
14           Ubi Jus Ibi Remedium is a Latin phrase stating that where there is a wrong the law provides a
15   remedy, a foundational legal principle that has existed for centuries if not millinea. See Marbury v.
16   Madison, 5 U.S. 137, 162-163 (1803; Amara, supra, at 440 (“Indeed a maxim of equity states that
17   ‘[e]quity suffers not a right to be without a remedy’ R. Francis, Maxims of Equity (1823).”) NetApp
18   argues ERISA is an exception to that ancient rule such that redress for misrepresenting critical features
19   of a medical benefit plan can be denied to a beneficiary of the plan. All three equitable remedies –
20   reformation, equitable estoppel, and surcharge are available for this Court to apply upon a finding of
21   liability under section 1132(a)(3). The Supreme Court held that ERISA § 502(a)(3), 29 U.S.C. §
22   1132(a)(3), “catchall” remedial provisions that act as a safety net, “offering appropriate equitable
23   relief.” Varity Corp. v. Howe, 516 U.S. 489, 512 (1996). The Court should grant a remedy as long as
24   the remedy is consistent with the language of the statute, the purpose of ERISA, and pre-existing trust
25   law. (See id., at 515).
26           A. Reformation.
27           Appropriate equitable relief may include “‘the reformation of the terms of the plan, in order to
28   remedy the false or misleading information’ provided by a plan fiduciary.” Gabriel v. Alaska Elec.
                                                        2
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 1   Pension Fund, 773 F.3d 945, 955 (9th Cir. 2014) (citing Amara at 440.; “The power of the court to

 2   reform contracts is available when there is an event of mistake or fraud.” See id. “A plaintiff may

 3   obtain reformation based on mistake in two circumstances: (1) ‘if there is evidence that a mistake of

 4   fact or law affected the terms of [a trust] instrument and if there is evidence of the settlor's true intent’;

 5   or (2) ‘if both parties [to a contract] were mistaken about the content or effect of the contract’ and the

 6   contract must be reformed ‘to capture the terms upon which the parties had a meeting of the minds.’”

 7   (emphasis added).)

 8           Furthermore, reformation is generally available for a violation of an applicable ERISA statute.

 9   Villalobos v. Downey Grinding Co, No. 8:19-cv-00150-JVS-ADSx, 2021 U.S. Dist. LEXIS 189149, at

10   *15 (C.D. Cal. Aug. 9, 2021). The Second Circuit has also held that “§ 502(a)(3) authorizes district

11   courts to grant equitable relief – including reformation – to remedy violations of subsection I of

12   ERISA, even in the absence of mistake, fraud, or other conduct traditionally considered to be

13   inequitable.” Laurent v. PricewaterhouseCoopers LLP, 945 F.3d 739, 748 (2d Cir. 2019)

14           Given the Court of Appeals opinion that absence of intent to deceive does not preclude

15   Warmenhoven’s claim (Opinion, p. 21) the reference to “fraud” in considering the reformation remedy

16   is irrelevant. There is ample evidence of mistake regarding NetApp’s intent in creating the EMRP.

17   The deposition testimony of Marge Correa, NetApp’s Director of Compensation, that at its creation

18   the EMRP could be terminated at any time (Ex. A to Declaration of Clarissa Kang, p. 62:15-63) is

19   contradicted by earlier testimony in that deposition that the EMRP represented a “lifetime” benefit.

20   Declaration of J. Philip Martin filed herewith (“Martin Dec.”), Ex. 1, at p. 26, lines 4-19. Moreover,

21   Warmenhoven believed the promise of lifetime benefits made in the multiple PowerPoints the

22   Compensation Committee of NetApp prepared and approved was the EMRP and Correa did not

23   communicate otherwise to him. Warmenhoven Dec. para. 6.

24           There is also ample evidence of mutual mistake; that NetApp senior management itself did not

25   believe the Plan could be terminated during the lifetimes of the retired senior executives. Over a

26   period of 6 years NetApp published references to the Plan, the number of executives then drawing its
27   benefits, and that a substantial accrual (over $26 million by 2015) for the liability the Company was

28   recognizing to pay those future benefits. Martin Dec. Exs. 2-8. When NetApp advised Warmenhoven
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 1   and the other retired executives of its intent to terminate the Plan in 2016, none of the Company’s then

 2   executives could point to language in any document authorizing its termination. Warmenhoven Dec.

 3   para.9.

 4             Unlike in Skinner v. Northrop Grumman Retirement Plan B, 673 F.3d 1162, 1166 (9th Cir.

 5   2012) where the terms of the retirement plan at issue were clear and was only in conflict with an

 6   earlier summary plan description, here it is undisputed that NetApp presented to Warmenhoven the

 7   EMRP’s repeated promise of lifetime benefits without qualification. Warmenhoven Dec. paras. 5 and

 8   8, Exhibits 1 and 2. Martin Dec. Exs. 2-8. 1

 9             Gabriel v. Alaska Elec. Pension Fund, supra, is not authority to deny Warmenhoven a right to

10   reformation. In Gabriel a plan representative’s letter to the plaintiff did not contain any representations

11   regarding Plan benefits but did make an error in the calculation of his future benefit.         Given the

12   material mistakes shown in this record, countless references in the many PowerPoints and SEC filings

13   that “lifetime benefits” were conferred without qualification and with no evidence any NetApp

14   executive informed Warmenhoven otherwise (other than handing him the long fine print insurance

15   certificate on one occasion), reformation is an appropriate remedy. Amara, supra, at 440-441 (2011)

16   (Cigna failed to give Pension Plan beneficiaries proper notice of changes to their benefits.)

17                    B. Surcharge

18             The Supreme Court in Amara specifically rejected the notion that detrimental reliance is

19   required before a remedy is decreed. Amara, at

20                   “Looking to the law of equity, there is no general principle that ‘detrimental
                      reliance must be proved before a remedy is decreed. [A] fiduciary can be
21                    surcharged under section 502 (a)(3) only upon a showing of actual harm. .
                      [which] may sometimes consist of detrimental reliance, but it might also come
22
                      from the loss of a right protected by ERISA on its trust law antecedents.’”
23             The Ninth Circuit has recognized the same. Gabriel, supra, at 957-958:

24                    “Amara further noted that equity courts did not require a ‘showing of detrimental
                      reliance” when ordering surcharge. Rather, then simply ordered a trust or beneficiary be
25                    made whole following a trustee’s breach of trust’ and would ‘mold the relief to protect
                      the rights of the beneficiary’”.
26
27   1
       Verity Corp. v. Howe, supra at 502. When a Company makes representations about benefits, it acts
     as a fiduciary. It is irrelevant whether any such representations were made negligently or
28   intentionally. See, e.g. Mathews v. Chevron Corp. 362 F.3d 1172, 1183 (9th Cir. 2004).
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 1          Causation and harm are apparent from the record before the Court. Warmenhoven was forced

 2   to purchase medical insurance when the Company terminated the EMRP. His out-of-pocket expenses

 3   exceeded $4,000 a year from 2017. Warmenhoven Dec. para. 10.

 4          Both of the District Court cases cited in the NetApp Br. acknowledge the availability of

 5   surcharge when a Section 1132(a)(3) violation has occurred. In Moyle. v. Liberty Mutual Retirement

 6   Benefit Plan, 263 F.Supp.3d 999, 1028 (S.D.Cal 2017) the court denied a summary judgment motion

 7   and noted that “beneficiaries can obtain surcharge under an unjust enrichment theory where a fiduciary

 8   that obtained a benefit through a breach of duty can be ordered to return that benefit.” Here NetApp

 9   retained millions of dollars, per its SEC disclosures, when it terminated the Plan and avoided any

10   future liability related to the EMRP. Warmenhoven seeks a minor amount of the windfall NetApp

11   received in clawing back the value of the lifetime benefits it promised the senior executives.

12          In Petroff v. Ret. Ben. Plan of Am. Airlines, 2015 U.S. Dist. LEXIS 200207, 2015 WL

13   13917970 (C. D. Cal. 2015) the court dismissed, with leave to amend, the complaint of the widow of a

14   former American Airlines employee denied certain pre-retirement benefits upon her husband’s death.

15   At pages 31-32 of the opinion the Court noted that “but for” causation was the standard for

16   considering a surcharge remedy and Petroff’s complaint did not sufficiently allege that the failure of

17   the company to make a disclosure regarding enhanced benefits her husband could have obtained

18   caused harm to him or the plaintiff. Here Warmenhoven has offered proof of the financial expense of

19   replacing the NetApp EMRP cost him. The only cause was the 2016 decision to terminate the Plan.

20          A surcharge in the amount of both past and future expected premium expenses is appropriate.

21                                           IV.    CONCLUSION

22          Defendant’s motion for summary judgment should be denied.

23

24   DATED: July 11, 2022                          KASTNER | KIM LLP

25                                                 By: /s/Eric C. Kastner_____
                                                      Eric C. Kastner
26                                                    J. Philip Martin
                                                      Attorneys for Plaintiff
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                                                      DANIEL WARMENHOVEN
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